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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA


   IN RE:                                                               CHAPTER 11

   FIRST NBC BANK HOLDING COMPANY,                                      CASE NO. 17-11213

                  DEBTOR                                                SECTION A


         OBJECTION TO MISCLASSIFIED CLAIM NO. 13 FILED BY DEAN HAINES
          NOW INTO COURT through undersigned counsel comes First NBC Bank Holding

   Company, as debtor and debtor-in-possession (the “Debtor”) in the above-entitled and numbered

   bankruptcy case which requests that Proof of Claim No. 13, filed by Dean Haines, be reclassified

   as a general unsecured claim (Class 2); and, in support thereof, respectfully represents as follows:

                                                    1.

                                   JURISDICTION AND VENUE

          This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334(b). This

   matter constitutes a proceeding that this Court may hear and determine pursuant to 28 U.S.C. §§

   157(b)(2)(B). This Court is the appropriate venue under 28 U.S.C. § 1409(a).

                                                    2.

                                           BACKGROUND

    A.    THE CHAPTER 11 CASE

                                                   3.

          On April 28, 2017, the Louisiana Office of Financial Institutions closed First NBC Bank,

   a wholly owned subsidiary of the Debtor, and named the Federal Deposit Insurance Corporation

   as Receiver (“FDIC-R”) for the Bank.
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                                                   4.

          On May 11, 2017 (the “Petition Date”), the Debtor filed a voluntary petition for relief under

   chapter 11 of title 11 of the U.S. Code (the “Bankruptcy Code”), commencing the above-captioned

   bankruptcy case (“Chapter 11 Case”).

                                                   5.

          On May 23, 2017, the Office of the U.S. Trustee appointed an Official Committee of

   Unsecured Creditors (the “Committee”).

                                                   6.

          On July 2, 2019, the Debtor and the Committee (collectively, “Plan Proponents”) filed a

   Second Amended Joint Plan of Reorganization [Doc.621] (as amended, “Joint Plan”); and, on the

   same date, the Debtor filed an accompanying Second Amended Disclosure Statement [Doc.622]

   (as amended, “Disclosure Statement”). On July 3, 2019, the Bankruptcy Court entered an order

   approving the Disclosure Statement [Doc. 624]. A hearing on confirmation of the Joint Plan is

   currently scheduled for March 10, 2020.

                                                   7.

   B.     THE NQDC PLAN

          The Debtor was the sponsor and administrator of the First NBC Bank Holding Company

   Deferred Compensation Plan, an unfunded, non-qualified deferred compensation arrangement first

   effective as of June 30, 2012 (the “NQDC Plan"). On the same date, the First NBC Bank Holding

   Company Deferred Compensation Trust (“NQDC Trust”) was established as a grantor trust for the

   purpose of accumulating funds to satisfy the Debtor’s or Debtor’s affiliate’s benefit obligations

   under the NQDC Plan. A copy of the Trust Agreement (the “NQDC Trust Agreement”) governing

   the NQDC Trust is attached hereto as Exhibit B. At the time this case was commenced, the Debtor

   maintained the NQDC Trust with Whitney Bank (“Whitney”) serving as the successor Trustee
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   following the Bank Closing Date; and, the NQDC Trust’s funds were invested with Nationwide

   Financial (“Nationwide”) which in turn invested the funds in various securities.

                                                   8.

          Section 5 of the NQDC Trust Agreement instructs the Trustee to apply property of the

   NQDC Trust solely to satisfy the Debtor’s or Debtor’s affiliate’s benefit obligations under the

   NQDC Plan and further provides that the Debtor has no right or power to direct the Trustee to

   return the funds of the NQDC Trust to the Debtor until all obligations under the NQDC Plan have

   been satisfied. However, under the express provisions of Sections 6 and 7 of the NQDC Trust

   Agreement, the funds of the NQDC Trust constitute general assets of the Debtor available to satisfy

   the claims of the Debtor’s general creditors in the event of the Debtor’s insolvency. Consequently,

   the assets of the NQDC Trust became property of the Debtor’s estate upon commencement of this

   Chapter 11 Case.

                                                   9.

          Shortly after the Petition Date, the NQDC Trust was terminated and its investments were

   liquidated and the funds (“NQDC Funds”) derived therefrom ($593,686.84) were transferred to

   Whitney, as successor trustee. On August 18, 2017, the Debtor filed a Motion for Turnover of

   Property of the Estate [Doc.91], requesting turnover of the NQDC Funds by Whitney. The

   Turnover Motion was granted on August 22, 2017 (“Turnover Order”). Thereafter, on August 29,

   2017, the FDIC-R filed a motion to reconsider the Turnover Order, which was ultimately resolved

   through a Court-approved settlement between the Debtor and FDIC-R [Doc. 153]. That settlement

   resulted in a division of the NQDC Funds between the Debtor (75%) and the FDIC-R (25%).

                                                  10.

                 HAINES’ CLAIM IS MISCLASSIFIED AS A PRIORITY SECURED CLAIM

          On August 19, 2017, Haines timely filed proof of claim no. 13 (the “Haines Claim”) in this
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   Chapter 11 Case. The Haines Claim was asserted as a priority and secured claim against the

   Debtor’s estate in the amount of $13,640.32. The Debtor maintains that the Haines Claim

   incorrectly asserted secured, priority status where no basis for such treatment exists. This claim

   arises from alleged contributions made by Haines under the NQDC Plan. Through Order [Doc.

   699] entered in the Chapter 11 Case on August 19, 2019, the Bankruptcy Court has already

   determined that the Haines Claim was not entitled to priority, in any amount, under 11 U.S.C.

   §507(a).

                                                    11.

          Haines asserts that the Haines Claim is secured by “[his] retirement contributions”; and, in

   support of the basis for perfection of the alleged lien, Haines attaches a copy of a Nationwide

   investment statement referencing the NQDC Plan. See Exhibit A, Proof of Claim No. 13.

                                                    12.

          As set forth above, all NQDC Funds were transferred to the Debtor and the receiver for its

   subsidiary, the FDIC-R, in the early stages of this Chapter 11 Case. Provisions allowing for funds

   of deferred compensation plans to be used to pay a company’s creditors are standard for plans such

   as the NQDC Plan in order to maintain the associated tax advantages:

            “An unfunded arrangement is one where the employee has only the employer's "mere
   promise to pay" the deferred compensation benefits in the future, and the promise is not secured
   in any way. The employer may simply keep track of the benefit in a bookkeeping account, or it
   may voluntarily choose to invest in annuities, securities, or insurance arrangements to help fulfill
   its promise to pay the employee. Similarly, the employer may transfer amounts to a trust that
   remains a part of the employer's general assets, subject to the claims of the employer's creditors if
   the employer becomes insolvent, in order to help keep its promise to the employee. To obtain the
   benefit of income tax deferral, it is important that the amounts are not set aside from the employer's
   creditors for the exclusive benefit of the employee. If amounts are set aside from the employer's
   creditors for the exclusive benefit of the employee, the employee may have currently includible
   compensation.” (Emphasis added). Internal Revenue Service, “Nonqualified Deferred
   Compensation               Audit              Techniques              Guide              (June2015)”,
   https://www.irs.gov/businesses/corporations/nonqualified-deferred-compensation-audit-
   techniques-guide.

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                                                   13.

          No basis for a lien affecting the Debtor’s assets is contained in the Haines Claim; and, none

   exists in the NQDC Trust Agreement. To the contrary, the NQDC Trust Agreement expressly

   provides that NQDC Trust beneficiaries or NQDC Plan participants are only entitled to a general

   unsecured claim for funds accumulated in the NQDC Trust. See Exhibit B, NQDC Trust

   Agreement §1.4. The Debtor maintains that no other basis for a lien securing the Haines Claim is

   found in the books and records of the Debtor’s estate. Accordingly, the Haines Claim should be

   reclassified as a Class 2 General Unsecured Claim.

                                                   14.

          The Debtor and its successors hereby reserve all rights to amend, modify or supplement

   this objection to Haines Claim.

          WHEREFORE, First NBC Bank Holding Company prays that this Court, after notice and

   a hearing, enter an order reclassifying Proof of Claim No. 13 as a Class 2 General Unsecured Claim

   under the Joint Plan, and for such other relief deemed equitable and just.

                                                Respectfully submitted by:

                                                /s/ Barbara B. Parsons
                                                WILLIAM E. STEFFES (#12426)
                                                BARBARA B. PARSONS (#28714)
                                                THE STEFFES FIRM, LLC
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                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF LOUISIANA

   IN RE:                                                                          CHAPTER 11

   FIRST NBC BANK HOLDING COMPANY,                                                 CASE NO. 17-11213

            DEBTOR                                                                 SECTION A


                                          CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a copy of the above and foregoing Objection has been served

   upon all those entitled to receive electronic notice via this Court’s CM/ECF notification system,

   as shown below:

   Sam J. Alberts on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank sam.alberts@dentons.com

   Serajul Ferdows Ali on behalf of Interested Party United States of America/Treasury serajul.ali@usdoj.gov

   A. Brooke Watford Altazan on behalf of Creditor Committee Official Unsecured Creditors' Committee
   baltazan@stewartrobbins.com

   Wilbur J. (Bill) Babin, Jr. on behalf of Defendant Louis P. Ballero, Jr.
   babin@derbeslaw.com, derbeser72443@notify.bestcase.com

   Brian M. Ballay on behalf of Interested Party Directors and Former Directors Group
   bballay@bakerdonelson.com

   Jerry A. Beatmann on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank jay.beatmann@dentons.com

   Ward Benson on behalf of Interested Party United States of America on behalf of the Internal Revenue Service
   ward.w.benson@usdoj.gov, southern.taxcivil@usdoj.gov

   Nicholas H. Berg on behalf of Interested Party Lawrence Blake Jones nberg@reasonoverllc.com

   Brandon A. Brown on behalf of Creditor Committee Official Unsecured Creditors' Committee
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   Aaron Brownell on behalf of Interested Party United States of America on behalf of the Internal Revenue Service
   aaron.c.brownell@usdoj.gov

   Christopher T. Caplinger on behalf of Creditor Lead Plaintiffs in Securities Class Action ccaplinger@lawla.com

   Edward Castaing, Jr. on behalf of Interested Party Ryan J. Ashton ecastaing@cclhlaw.com

   Robin B. Cheatham on behalf of Creditor Florida Parishes Bank cheathamrb@arlaw.com


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   Leo D. Congeni on behalf of Interested Party Doug Smith, derivatively and on behalf of First NBC Bank Holding
   Company leo@congenilawfirm.com

   Nancy Scott Degan on behalf of Interested Party Directors and Former Directors Group
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   Eric J Derbes on behalf of Defendant Michael Lulich
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   Jonathan Edwards on behalf of Interested Party Mary Beth Verdigets and Jonathan.Edwards@alston.com

   Elizabeth J. Futrell on behalf of Creditor David W. Anderson efutrell@joneswalker.com

   Amanda Burnette George on behalf of U.S. Trustee Office of the U.S. Trustee amanda.b.george@usdoj.gov

   Eric Goldstein on behalf of Interested Party U.S. Bank National Association, as Indenture Trustee
   egoldstein@goodwin.com, bankruptcy@goodwin.com;bankruptcyparalegal@goodwin.com

   Aaron Benjamin Greenbaum on behalf of Interested Party Mary Beth Verdigets aaron.greenbaum@pjgglaw.com

   Jan Marie Hayden on behalf of Interested Party Lawrence Blake Jones jhayden@bakerdonelson.com

   John Hite, III on behalf of Plaintiff Zurich American Insurance Company
   jhite@shmrlaw.com

   John M. Landis on behalf of Creditor Gregory St. Angelo jlandis@stonepigman.com

   Michael E. Landis on behalf of Creditor Renewal Capital Company, LLC mlandis@gamb.law

   Alysson Leigh Mills on behalf of Interested Party Ryan J. Ashton amills@fishmanhaygood.com

   L. Marlene Quarles on behalf of Interested Party Lawrence Blake Jones
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   Andrew M Reidy on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank areidy@lowenstein.com

   Ryan James Richmond on behalf of Creditor Committee Official Unsecured Creditors' Committee
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   Lacey E Rochester on behalf of Interested Party Directors and Former Directors Group
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   David Rubin on behalf of Other Prof. Interested Party drubin@kswb.com

   Susan R. Sherrill-Beard on behalf of Interested Party U.S. Securities and Exchange Commission
   sherrill-beards@sec.gov

   Paul Douglas Stewart, Jr. on behalf of Creditor Committee Official Unsecured Creditors' Committee
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   Office of the U.S. Trustee USTPRegion05.NR.ECF@usdoj.gov

   R. Patrick Vance on behalf of Creditor David W. Anderson pvance@joneswalker.com

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   Stephen L. Williamson on behalf of Creditor Renewal Capital Company, LLC swilliamson@gamb.law

   Phillip A. Wittmann on behalf of Defendant Gregory St. Angelo pwittmann@stonepigman.com

           I further certify that a copy of the Objection has been served upon the Claimant by

   depositing same in the United States Mail, postage prepaid and properly addressed to:

                                           Dean Haines
                                           233 Chartres Street
                                           New Orleans, LA 70130-2214

           Baton Rouge, Louisiana, March 9, 2020.

                                          /s/ Samantha J. Chassaing
                                            Samantha J. Chassaing




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